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   9                           UNITED STATES DISTRICT COURT
  10                         CENTRAL DISTRICT OF CALIFORNIA
  11
  12   CLIFFORD A. ROSEN, an individual;        Case No.: 8:20-cv-01973-JLS-DFM
       RONALD A. CHRISTENSEN, an
  13   individual
  14                                                PLAINTIFFS CLIFFORD A. ROSEN
                          Plaintiffs,               AND RONALD A. CHRISTENSEN’S
                   vs.                              MEMORANDUM OF POINTS AND
  15   URBAN COMMONS, LLC, a Delaware               AUTHORITIES IN SUPPORT OF
       Limited Liability Company; URBAN             APPLICATION FOR RIGHT TO
  16   COMMONS 6TH AVE SEATTLE, LLC, a              ATTACH ORDER, ORDER FOR
       Delaware Limited Liability Company;          ISSUANCE OF WRIT OF
  17   URBAN COMMONS BATTERY PARK,                  ATTACHMENT, AND REQUEST
  18   LLC, a Delaware Limited Liability            FOR AN ORDER PERMITTING
       Company; CHICAGO ANALYTIC                    EXPEDITED DISCOVERY
  19   TRADING COMPANY, LLC, d/b/a
       LITTLERIVER CAPITAL, LLC, a
  20   Delaware Limited Liability Company;          Date:      May 14, 2021
       DIGITAL CAPITAL MARKETS, LLC, a              Courtroom: 6B, 6th Floor
  21   Maryland Limited Liability Company;
       TAYLOR WOODS, an individual;                 Judge:   Hon. Douglas F. McCormick
  22   HOWARD WU, an individual; C. BRIAN
       EGNATZ, an individual; and DOES 1
  23   through 10, inclusive
  24                    Defendants
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    1                   MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.   INTRODUCTION
    3         In predatory fashion, Defendants Urban Commons, Tyler Woods, and Howard Wu,
    4   induced Plaintiffs, Clifford A. Rosen and Ronald A. Christensen into investing their hard-
    5   earned money into “can’t miss” opportunities, and aggressively attempted to and
    6   ultimately succeeded in convincing Plaintiffs to purchase a membership interest in single
    7   purpose limited liability companies formed by Defendants. In turn, Defendants
    8   represented to Plaintiffs that by and through these single purpose LLC’s, Defendants
    9   would purchase and indirectly own one hundred percent of the hotel properties Hilton
   10   Seattle and The Wagner Hotel. Based on this fraudulent securities scheme, Plaintiffs each
   11   invested $250,000 in Urban Commons 6th Ave Seattle, LLC (“UC Seattle”), which
   12   Defendants represented to Plaintiffs was the single purpose LLC that would be used to
   13   purchase the Hilton Seattle. In addition, Dr. Christensen invested an additional $250,000
   14   in Urban Commons Battery Park, LLC (“UC Battery Park”), which Defendants
   15   represented to Dr. Christensen was the single purpose LLC that would be used to purchase
   16   the Wagner Hotel (formerly known as the Ritz-Carlton Battery Park).
   17         Now, having fallen prey to Defendants’ deceptive securities scheme, Plaintiffs
   18   Clifford A. Rosen (“Dr. Rosen”) and Ronald A. Christensen (“Dr. Christensen,
   19   collectively “Plaintiffs”), by and through this Application, seek a Right to Attach Order
   20   (“RTAO”) and Order for Issuance of Writ of Attachment (“Writ”) based on their claim for
   21   rescission. Specifically, Plaintiffs’ rescission claim is based on violations of Section
   22   25110 of the California Corporations Code, which makes it unlawful to offer or sell an
   23   unqualified security in the state unless the security is exempt. (Cal. Corp. Code § 25110.)
   24   Based on Defendants’ unlawful offering and selling of unregistered, unqualified and non-
   25   exempt securities in California, Plaintiffs, under Section 25503 of the California
   26   Corporations Code, seek a rescission of their purchase of membership interests in UC
   27   Seattle and UC Battery Park and restitution of their amount invested, which collectively
   28   totals $750,000. (Declaration of Clifford A. Rosen (“Rosen Decl.”) ¶¶ 3-4 ; see also

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    1   Declaration of Ronald A. Christensen (“Christensen Decl.”) ¶¶ 3-4.)
    2          Right to Attach Order And Writ of Attachment. The evidence supporting
    3   Plaintiffs’ Application satisfies the requirements of Sections 484.020 and 484.090 of the
    4   California Code of Civil Procedure which pursuant to Federal Rules of Civil Procedure
    5   64, the Court may use to determine the prejudgment remedies being sought by Plaintiffs.
    6   (See Fed. R. Civ. P. 64; Cal. Code Civ. Proc. §§ 484.020, 484.090.) Further, under Section
    7   484.020, subsection (e), a description of the property to be attached under the writ of
    8   attachment and a statement that the plaintiff is informed and believes that such property is
    9   subject to attachment must also be provided. (Cal. Code Civ. Proc. § 484.020(e).)
   10          First, an attachment may issue under Section 483.010, as (i) Plaintiffs’ rescission
   11   claim is a claim upon which a writ of attachment may issue. (See Trachsel v. Buchholz,
   12   No. C-08-2248 RMW, 2009 WL 839117, at *3 (N.D. Cal. Mar. 30, 2009); (ii) the total
   13   amount of Plaintiffs’ claim is fixed or readily ascertainable and over $500 as the amount
   14   being sought is $750,000; (iii) Plaintiffs’ claim is not secured by any interest in real
   15   property; and (iv) Plaintiffs’ claim as it pertains to Woods and Wu arises out of Woods
   16   and Wu’s conduct of a trade, business, or profession. (Cal. Code Civ. Proc. § 483.010(c).)
   17          Second, Plaintiffs have established the probable validity of the claim on which the
   18   attachment is based, as Plaintiffs have established a prima facie case for its rescission
   19   cause of action under Section 25503 of the Corporations Code based on Defendants’
   20   violation of Corporation Codes Section 25110, which makes it unlawful to offer or sell an
   21   unqualified security in the state unless the security is exempt. (Cal. Corp. Code § 25110.)
   22   In particular, not only were the securities offered and sold to Plaintiffs unregistered in
   23   violation of Sections 5(a) and 5(c) of the Securities Act, but the UC Seattle and UC
   24   Battery Park securities were unqualified because Defendants failed to: (i) obtain a permit
   25   from the Business Oversight Commissioner, authorizing Defendants to sell and issue a
   26   specified amount of securities in UC Seattle and UC Battery Park within a specified
   27   period of time, or (ii) give notice of information already furnished to the SEC under
   28   federal securities law. (Cal. Corp. Code §§ 25112, 25113; 15 U.S.C. §§ 77e(a), 77e(c).)

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    1   Additionally, Defendants’ selling of UC Seattle and UC Battery Park securities was not
    2   exempt from the provisions of Section 25110. (Cal. Corp. Code §
    3   25102.)
    4          Third, the writ is not being sought for a purpose other than the recovery of
    5   Plaintiffs’ $750,000 investment sum. (Cal. Code Civ. Proc. §§ 484.090(a)(3).)
    6          Fourth, the amount to be secured, $750,000, is greater than zero. (Cal. Code Civ.
    7   Proc. § 484.090(a)(4).)
    8          Fifth, the property Plaintiffs seek to attach is subject to attachment. As Form CV-
    9   4D demonstrates, Plaintiffs, as to Urban Commons, UC Seattle, and UC Battery Park are
   10   only seeking to attach corporate property subject to attachment pursuant to subdivision (a)
   11   of the Code of Civil Procedure Section 487.010. (Cal. Code Civ. Proc. § 484.020(e).) As
   12   Form CV-4D and the accompanying attachment demonstrate, Plaintiffs, as to Woods and
   13   Wu, are only seeking to attach individual property subject to attachment pursuant to
   14   Section 487.010(c). (See Cal. Code Civ. Proc. § 487.010(c).)
   15          Plaintiffs also respectfully request the Court issue an order permitting expedited
   16   discovery pursuant to Federal Rules of Civil Procedure 30(b)(1), 33(b)(2), and
   17   34(b)(2)(A). Plaintiffs seek expedited discovery narrowly tailored and pertaining to the
   18   assets of Urban Commons, UC Seattle, UC Battery Park, Woods, and Wu for the limited
   19   purpose of discovering Defendants’ attachable assets, determining the full extent of
   20   Defendants’ insolvency, and to prevent Defendants from liquidating any/or dissipating
   21   any assets and thereby denying this Court the ability to provide Plaintiffs with the final
   22   relief being sought.
   23          For these reasons, and as set forth more fully below, Plaintiffs respectfully request
   24   the Court grant this Application and issue a RTAO and writ of attachment to secure
   25   damages in the amount of $750,000. Plaintiffs also respectfully request that the Court
   26   grant Plaintiffs’ request for expedited discovery.
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    1   II.   STATEMENT OF FACTS
    2           A. The Urban Commons Enterprise
    3           Woods and Wu are the co-founders and co-owners of Urban Commons, a real
    4    estate investment firm that manages a large portfolio of entities operating in the
    5    hospitality space. Woods and Wu solicited capital from investors, like Plaintiffs, by
    6    offering them securities in single purpose limited liability companies through which
    7    Defendants purchased hotel properties. (Rosen Decl., ¶ 7, Christensen Decl., ¶ 7.) Specific
    8    to Plaintiffs’ claims are the single purpose limited liability companies UC Seattle and UC
    9    Battery Park. (Id.) More specifically and as will be explained in greater detail below,
   10    Defendants formed UC Seattle in order to purportedly purchase the Hilton Seattle and
   11    formed UC Battery Park in order to allegedly purchase the Wagner Hotel (formerly
   12    known as the Ritz-Carlton Battery Park). (Rosen Decl., ¶ 7, Christensen Decl., ¶¶ 7, 19.)
   13           B. Plaintiffs’ Investments In UC Seattle And UC Battery Park
   14              1. UC Seattle
   15           In or about January 2020, Defendants issued a private offering (“UC Seattle
   16    Offering”) to investors such as Plaintiffs seeking to raise $40,000,000 in membership
   17    interest in UC Seattle. (Rosen Decl., ¶ 7, Christensen Decl., ¶ 8.) UC Seattle is the single
   18    purpose limited liability company Defendants formed to purportedly purchase the Hilton
   19    Seattle. (Id.) In the time following the UC Seattle Offering, Plaintiffs had telephonic
   20    discussions with Defendants during which Defendants made a multitude of
   21    representations, including but not limited to the following: (i) Defendants represented to
   22    Plaintiffs that, after UC Seattle acquired the Hilton Seattle, the holding period would be
   23    about 3-4 months, at which point UC Seattle would sell the Hilton Seattle to EHT as had
   24    been the case with the multiple other hotel properties owned by Urban Commons, (ii)
   25    Plaintiffs would receive a 30% return on their investment, (iii) investing in UC Seattle
   26    was a “great deal”, and (iv) Plaintiffs would be “great additions” to the “family.” (Rosen
   27    Decl., ¶¶ 10-11, Christensen Decl., ¶¶ 10-11.) Based on these and other representations,
   28    Plaintiffs both participated in the UC Seattle Offering wherein each Plaintiff invested

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    1   $250,000 in UC Seattle. (Rosen Decl., ¶ 12, Exh. C., Christensen Decl., ¶ 12.)
    2           Notably, at no point in time during the UC Seattle Offering and/or the UC Battery
    3   Park Offering discussed below did Defendants disclose the financially volatile state of
    4   EHT which meant EHT could not purchase their interests in the LLCs with a 30% return
    5   within 3 to 4 months. Specifically, never did Defendants disclose that: (i) EHT had
    6   defaulted on its $340,000,000 facility loan with Bank of America, (ii) trading of the
    7   EAGLEHT units had been suspended on the Singapore Exchange, and (iii) EHT was
    8   under investigation by the Monetary Authority of Singapore (MAS) and the Singapore
    9   Exchange for suspected breaches of disclosure requirements and breaches of regulations
   10   and listing rules. (Rosen Decl., ¶ 18, Christensen Decl., ¶ 17.) Significantly, had Plaintiffs
   11   been made aware of any of these material misrepresentations, Plaintiffs would not have
   12   invested in Defendants’ securities offerings. (Rosen Decl., ¶ 19, Christensen Decl., ¶ 18.)
   13                2. UC Battery
   14           In or about February 2020, Defendants issued a private offering (“UC Battery Park
   15   Offering”) to investors including Plaintiffs seeking to raise $70,000,000 in membership
   16   interest in UC Battery Park. (Christensen Decl., ¶ 19.) UC Battery Park is the single
   17   purpose limited liability company Defendants formed and through which they were
   18   supposedly going to purchase the Wagner Hotel. (Id.)
   19           Dr. Christensen is the only plaintiff that invested in UC Battery Park. Prior to his
   20   $250,000 investment in UC Battery Park, Dr. Christensen had a telephonic call with
   21   defendant Brian Egnatz.1 During the telephonic call, Egnatz represented to Dr.
   22   Christensen, among other things, that investing in UC Battery Park would yield a 30%
   23   return on investment and that the sale of the Wagner Hotel to EHT would be completed by
   24   the fourth quarter of 2020. (Christensen Decl., ¶ 21.) Based on these and other material
   25   misrepresentations, Dr. Christensen participated in the UC Battery Park Offering by
   26   investing $250,000 in UC Battery Park. (Christensen Decl., ¶ 23.) Remarkably, despite
   27   1
         Plaintiffs are informed and believe therefore allege that Egnatz acted as a compensated unregistered sales agent on
        behalf of defendant Urban Commons to market, offer, and sell membership interests in UC Seattle and UC Battery
   28   Park to investors such as Plaintiffs.

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    1   being told by Defendants that his $250,000 investment would be added to the rest of the
    2   funds raised by UC Battery Park to purchase the Wagner Hotel, Dr. Christensen recently
    3   learned that at the time he made his $250,000 investment, Defendants had already
    4   completed the purchase of The Wagner Hotel. (Christensen Decl., ¶ 30.)
    5   III.   LEGAL STANDARD
    6          Federal Rule of Civil Procedure 64 grants this Court the power to fashion interim
    7   relief using the procedural rules available to courts in the State of California. (See Fed. R.
    8   Civ. P. 64.) Federal Rule of Civil Procedure 64 provides, in relevant part: “At the
    9   commencement of and during the course of an action, all remedies providing for seizure
   10   of person or property for the purpose of securing satisfaction of the judgment ultimately to
   11   be entered in the action are available under the circumstances and in the manner provided
   12   by the law of the state in which the district court is held, existing at the time the remedy is
   13   sought[.]” (Id.) The effect of Rule 64 is “to incorporate state law to determine the
   14   availability of prejudgment remedies for seizure of property to secure satisfaction of
   15   judgment ultimately entered.” (Everflow Tech. Corp. v. Millennium Elect., Inc., Civ. A.
   16   No. 07-5795, 2009 WL 2581273, at *1 (N.D. Cal. Aug. 19, 2009). See also Hamilton
   17   Beach Brands, Inc. v. Metric and Inch Tools, Inc., 614 F. Supp. 2d 1056, 1061 (C.D. Cal.
   18   2009).)
   19          California Code of Civil Procedure section 481.010, et seq., specifies the
   20   procedures and grounds for granting prejudgment writs of attachment. (Everflow, 2009
   21   WL 2581273, at *1.) A writ of attachment is proper in an action for a claim seeking
   22   money damages, based on an express or implied contract, in which said claim is for a
   23   fixed or readily ascertainable amount not less than $500, exclusive of costs, interest, and
   24   attorneys' fees. (Id., citing Cal. Code Civ. Proc. § 483.010(a)). See also Goldstein v. Barak
   25   Const., (2008) 164 Cal. App. 4th 845, 852.) Further, the claim may not be secured, and
   26   must be a commercial claim. (Id., citing Cal. Code Civ. Proc. § 483.010(b) and (c));
   27   Goldstein, 164 Cal. App. 4th at 852.)
   28          To obtain a writ of attachment, the moving party must establish that: (1) the claim

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    1   upon which the attachment is based is one upon which attachment may be issued; (2) the
    2   plaintiff has established the “probable validity” of the claim upon which the attachment is
    3   based; (3) the attachment is not sought for a purpose other than the recovery on the claim
    4   upon which attachment is based; and (4) the amount to be secured by the attachment is
    5   greater than zero. (Everflow, 2009 WL 2581273 at *2 citing Cal. Code Civ. Proc. §
    6   484.090(a)); Hamilton Beach, 614 F. Supp. 2d at 1061.) In addition to the four factors
    7   above, the description of the property to be attached must be “reasonably adequate to
    8   permit the defendant to identify the property sought to be attached.” (Gen. Elec. Capital
    9   Corp. v. Rhino Bus. Sys., Inc., No. 216CV00029KJMCMK, 2016 WL 2743557, at *3
   10   (E.D. Cal. May 11, 2016) citing to Cal. Code Civ. Proc. § 484.020(e).)
   11          As demonstrated below, Plaintiffs have satisfied their burden of demonstrating all
   12   of the requisite elements. (Everflow, 2009 WL 2581273 at *2 [movant bears the burden];
   13   Pos-A-Traction, Inc. v. Kelly-Springfield Tire Co., 112 F. Supp. 2d 1178, 1181 (C.D. Cal.
   14   2000).)
   15   IV.    LEGAL ARGUMENTS
   16          A. The Court Should Issue A Writ of Attachment
   17          Plaintiffs have satisfied all four requirements for issuance of a Right to Attach
   18   Order and writ of attachment under Section 484.090(a).
   19             1. Plaintiffs’ Claim Is One Upon Which An Attachment May Issue
   20          Plaintiffs’ Writ of Attachment is based on violations of California Corporations
   21   Code Section 25503, a claim upon which an attachment may issue. (Trachsel v. Buchholz,
   22   No. C-08-2248 RMW, 2009 WL 839117, at *3 (N.D. Cal. Mar. 30, 2009) [“Accordingly,
   23   it would appear that a writ of attachment may be based upon a claim of rescission under
   24   Cal. Corp. Code § 25503 as the sum of money to be returned to plaintiffs should they
   25   prevail is ascertainable based upon the amount invested and the ‘interest at the legal rate,
   26   less the amount of any income received therefrom.’”]; Bennett v. Superior Court in and
   27   for Los Angeles County, (1933) 218 Cal. 153, 161 [“[T]he rule is established upon well-
   28   considered authority that, if upon examination of the complaint the gravamen of the action

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    1   forces the conclusion that it is an action for the recovery of a specific sum of money upon
    2   a contract, express or implied, an attachment will issue regardless of the fact that the
    3   exercise of equitable powers of the court are also incidentally involved.”].)
    4          Therefore, Plaintiffs’ claim based upon violations of Section 25503 is one upon
    5   which an attachment may issue.
    6             2. Plaintiffs’ Claim Is For A Fixed Or Readily Ascertainable Sum Over
    7                 $500
    8          Here, the sum owed to Plaintiffs under their rescission claim is ascertainable based
    9   upon the amount each invested in UC Seattle and UC Battery Park respectively and the
   10   “interest at the legal rate, less the amount of any income received therefrom.” (Trachsel v.
   11   Buchholz, No. C-08-02248 RMW, 2009 WL 839117, at *4 (N.D. Cal. Mar. 30, 2009);
   12   Cal. Corp. Code § 25503.) Specifically, Plaintiffs seek to recover a total of $750,000,
   13   which represents Dr. Rosen’s $250,000 investment in UC Seattle and Dr. Christensen’s
   14   $250,000 investments in UC Seattle and UC Battery Park. (Christensen Decl., ¶ 3, Rosen
   15   Decl., ¶ 3.) Further, the sum of Plaintiffs’ claim is readily ascertainable by reference to the
   16   subscription agreements Dr. Christensen and Dr. Rosen executed as part of their purchase
   17   of a membership interest in UC Seattle and UC Battery Park respectively. (Christensen
   18   Decl., ¶¶ 3, 13, 23, Exhs. I, N; Rosen Decl., ¶¶ 3, 12, Exh. C.)
   19             3. Plaintiffs’ Claim Against Woods and Wu Arises Out Of Their Conduct
   20                 Of a Trade, Business Or Profession
   21          Commercial claims against individuals must arise out of the defendant’s conduct of
   22   a trade, business or profession. (Cal. Code Civ. Proc. § 483.010(c); Kadison, Pfaelzer,
   23   Woodard, Quinn & Rossi v. Wilson, (1987) 197 Cal.App.3d 1, 4.) What constitutes a
   24   “trade, business or profession” has yet to be definitively construed. Generally, it means an
   25   activity carried on “for the purpose of livelihood or profit on a continuing basis.”
   26   (Nakasone v. Randall, (1982) 129 Cal.App.3d 757; Douglas v. Smith, No. SACV 09-
   27   1365-DOCMLGX, 2010 WL 1734903, at *2 (C.D. Cal. Apr. 28, 2010).) This inquiry
   28   concerns whether the activity that generated the debt is of the kind “which occupies the

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    1   time, attention and effort of the [defendant] for the purpose of livelihood or profit on a
    2   continuing basis.” (See Advance Transformer Co. v. Superior Court, (1974) 44 Cal. App.
    3   3d 127, 144.)
    4          Here, Plaintiffs’ claims against Woods and Wu arise from their “trade, business, or
    5   profession.” As explained above, Woods and Wu are the co-founders and co-owners of
    6   Urban Commons, a real estate investment firm that manages a large portfolio of entities
    7   operating in the hospitality space. Marketing, soliciting, and selling securities in the
    8   hospitality space was part of Woods and Wu’s business activity that substantially
    9   occupied their time and efforts and constituted a continuing basis for promoting their own
   10   profit. Specifically, by and through Urban Commons, Woods and Wu would create single
   11   purpose limited liability companies through which they would purchase hotel properties.
   12   Woods and Wu by and through Urban Commons would then turn around and offer
   13   investors such as Plaintiffs a membership interest in the single purpose limited liability
   14   company with the promise of great returns on investments. Woods and Wu by and
   15   through Urban Commons would repeat this same process over and over, each time with a
   16   new/different single purpose limited liability company and a new/different hotel property.
   17   (Christensen Decl., ¶ 22, Exh. M.)
   18          As officers and directors of Urban Commons and its subsidiaries, Woods and Wu
   19   managed the day-to-day business of Urban Commons, which included identifying the
   20   hotel property to be purchased, the formation of the single purpose limited liability
   21   company through which the identified hotel property would be purchased and the
   22   marketing, soliciting, and selling of a membership interested in the newly formed LLC.
   23          Defendants carried out this fraudulent scheme to a tee twice against Plaintiffs: first
   24   in marketing, soliciting, and selling Plaintiffs a membership interest in UC Seattle and a
   25   second in inducing Dr. Christensen to purchase a membership interest in UC Battery Park.
   26          Therefore, there is no denying that Plaintiffs’ claims against Woods and Wu arise
   27   from their trade, business or profession.
   28

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    1               4. Plaintiffs’ Claim Is Not Secured By Real Property
    2            An attachment may not be issued on a claim which is secured by an interest in real
    3   property. (Cal. Code Civ. Proc. § 483.010(b).) Plaintiffs’ securities claim arises out of the
    4   sale of unregistered, unqualified and non-exempt securities by Defendants to Plaintiffs in
    5   violation of Section 25110 of the California Corporations Code. Accordingly, Plaintiffs’
    6   claim is unsecured, by real property or otherwise. (Christensen Decl., ¶ 5, Rosen Decl., ¶
    7   4.)
    8            Thus, based on the above, Plaintiffs have established that their claim is one on
    9   which an attachment may be issued.
   10            B. Plaintiffs Have Established The Probable Validity of its Rescission Claim
   11            Probable validity does not require that the applicant prove it will actually win its
   12   claim; rather, “[a] claim has ‘probable validity’ where it is more likely than not that the
   13   plaintiff will obtain a judgment against the defendant on that claim.” (Cal. Code Civ. Proc.
   14   § 481.090.) That is, “the plaintiff must at least establish a prima facie case” and “the court
   15   must then consider the relative merits of the positions of the respective parties and make a
   16   determination of the probable outcome of the litigation.” (See Cal. Law Revision Comm.
   17   Com. to Cal. Code Civ. Proc. § 481.190.)
   18            Here, Plaintiffs’ rescission claim is based on violations of Section 25110 of the
   19   California Corporations Code, which makes it unlawful to offer or sell an unqualified
   20   security in the state unless the security is exempt. (Cal. Corp. Code § 25110.) As is set
   21   forth below, Plaintiffs have met their standard of showing the probable validity of their
   22   claim.
   23              1. Defendants Offered And Sold Plaintiffs A Security
   24            Under Section 25019 of the California Corporations Code, the definition of
   25   “security” includes a subscription and/or investment contract. (Cal. Corp. Code § 25019;
   26   Trachsel v. Buchholz, No. C-08-02248 RMW, 2009 WL 839117, at *5 (N.D. Cal. Mar.
   27   30, 2009).) For the purpose of both the federal and the California securities law, an
   28   investment contract means a contract or transaction whereby a person invests money in a

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    1   common enterprise with the expectation of deriving a profit solely from the efforts of a
    2   promoter or a third person. (Securities & Exch. Com. v. Howey Co. (1946) 328 U.S. 293,
    3   298–299; People v. Skelton (1980) 109 Cal.App.3d 691, 713; People v. Park (1978) 87
    4   Cal.App.3d 550, 563; Oil Lease Service, Inc. v. Stephenson (1958) 162 Cal.App.2d 100,
    5   109.)
    6           As the court explained in Securities & Exch. Com'n v. Glenn W. Turner Enter., Inc.
    7   (D.Or.1972) 348 F.Supp. 766, 774: “The most essential consistency in the cases which
    8   have considered the meaning of ‘investment contract’ is the emphasis on whether or not
    9   the investor has substantial power to affect the success of the enterprise. When his success
   10   requires professional or managerial skill on his part, and he has authority corresponding
   11   with his responsibility, his investment is not a security within the meaning of the
   12   securities act. When he is relatively uninformed and unskilled and then turns his money
   13   over to others, essentially depending upon their representations and their honesty and skill
   14   in managing it, the transaction is an investment contract.” (People v. Coster, 151 Cal.
   15   App. 3d 1188, 1193–94 (Ct. App. 1984) quoting Securities & Exch. Com'n v. Glenn W.
   16   Turner Enter., Inc. (D.Or.1972) 348 F.Supp. 766, 774.)
   17           Here, based on the broad definition of security under Section 25019, there is no
   18   doubt that Defendants’ offering and selling of a membership interests in UC Seattle and
   19   UC Battery Park qualify as a security under California law. There is also no doubt that in
   20   investing in UC Seattle and UC Battery Park, Plaintiffs were depending upon Defendants’
   21   representations, honesty, and skills in investing in these securities. Additionally, treating
   22   the purchase of a membership interest in commercial real estate projects such as UC
   23   Seattle and UC Battery Park as a security is consistent with the intent of Section 25019,
   24   which “is designed to embrace speculative schemes to attract risk capital, no matter how
   25   ingeniously designed, and the courts will look through form to substance to achieve this
   26   end.” (Sarmento v. Arbax Packing Co., (1964) 231 Cal.App.2d 421, 424 [discussing prior
   27   statute]; see also Silver Hills Country Club v. Sobieski, (1961) 55 Cal.2d 811, 814 [the
   28   purpose of the law is “to protect the public against spurious schemes, however ingeniously

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    1   devised, to attract risk capital.”]; Trachsel v. Buchholz, No. C-08-02248 RMW, 2009 WL
    2   839117, at *5 (N.D. Cal. Mar. 30, 2009); See, e.g., Sobieski, 55 Cal.2d at 814.)
    3             2. The Security Defendants Sold Plaintiffs Were Without Qualification Or
    4                Exemption
    5          Every security that is offered or sold in California must comply with the Corporate
    6   Securities Law. (Cal. Corp. Code § 25000 et seq.) .) California Corporations Code Section
    7   25110 makes it unlawful to offer or sell an unqualified security in the state “unless such
    8   security or transaction is exempted or not subject to qualification under Chapter 1.” (Cal.
    9   Corp. Code § 25110; Trachsel v. Buchholz, No. C-08-02248 RMW, 2009 WL 839117, at
   10   *5 (N.D. Cal. Mar. 30, 2009).) A security is “qualified” only if the issuer: (i) obtains a
   11   permit from the Business Oversight Commissioner, authorizing the issuer to sell and issue
   12   a specified amount of securities within a specified period of time or (ii) gives notice of
   13   information already furnished to the SEC under federal securities laws. (Cal. Corp. Code
   14   §§ 25112, 25113.)
   15          Here, Defendants met neither of these requirements for the offering and selling of
   16   securities in UC Seattle and UC Battery Park to Plaintiffs. Absent compliance, Defendants
   17   violated the securities laws unless the securities satisfy an exemption, which they do not.
   18          Accordingly, as the sale of membership interests in UC Seattle and UC Battery
   19   qualify as the sale of a security under California law and because securities offered and
   20   sold to Plaintiffs by Defendants were not exempt from qualification, Plaintiffs have
   21   established the probable validity of their claim.
   22          C. The Attachment Is Sought Only To Recover On Plaintiffs’ Claim
   23          Plaintiffs seek a right to attach order and an order issuing a writ of prejudgment
   24   attachment solely to secure damages related to their rescission claim. (Christensen Decl., ¶
   25   4, Rosen Decl., ¶ 4.) Specifically, Plaintiffs seek to recover a total of $750,000, which
   26   represents the total sum of their investments. (Christensen Decl., ¶ 3, Rosen Decl., ¶ 3.)
   27          D. The Amount Sought Is Greater Than Zero
   28          Finally, the attachment statute requires the amount to be secured by the attachment

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    1   be “greater than zero” (Cal. Code Civ. Proc. § 484.090(a)(4).) As stated above, Plaintiffs
    2   seek an attachment against Defendants in the amount of $750,000, which is indisputably
    3   greater than zero. (Christensen Decl., ¶ 6, Rosen Decl., ¶ 6.)
    4          E. Plaintiffs’ Description of the Attachable Property Is Reasonably Adequate.
    5          Plaintiffs only seek to have the writ issued as to Defendants’ attachable property.
    6   With respect to Urban Commons, UC Seattle, and UC Battery Park, Plaintiffs seek to
    7   attach the following, without limitation: interests in real property, accounts receivable,
    8   chattel, general intangibles, equipment, farm products, inventory, final money judgments,
    9   money located within business premises or in bank accounts, instruments, securities in
   10   any business entity, minerals or the like, and vehicles. Because Urban Commons, UC
   11   Seattle, and UC Battery Park are business entities, they may not claim any personal
   12   exemptions, all its property described is subject to attachment. (See Cal. Code Civ. Proc. §
   13   487.010; Christensen Decl., ¶ 5, Rosen Decl., ¶ 5.) With respect to Woods and Wu,
   14   Plaintiffs seek to attach all property of each defendant that is subject to attachment under
   15   Section 487.010(c) and as fully set forth in form CV-4D. Furthermore, Plaintiffs are
   16   informed and believe that the property described in form CV-4D as to Woods and Wu is
   17   attachable. (Christensen Decl., ¶ 5, Rosen Decl., ¶ 5.)
   18          Additionally, the Court may issue an attachment order against Defendants’
   19   property even if their specific property cannot be readily located or identified at the time
   20   the application is filed; rather, broad descriptions of the defendant’s property for purposes
   21   of the attachment application may be utilized. (See Bank of America v. Salinas Nissan,
   22   Inc., (1989) 207 Cal. App. 3d 260, 268 [“We do not understand it to prohibit a plaintiff
   23   from targeting for attachment everything an individual defendant owns.”]; see also
   24   Fremont Bank v. Signorelli, No. 18-CV-04808-HSG, 2018 WL 6609565, at *3 (N.D. Cal.
   25   Dec. 17, 2018) [“[U]nder California law a plaintiff can simply list the categories of
   26   attachable assets as provided in section 487.010 in a motion for right to attach order, even
   27   as to natural-person defendants.”].) (emphasis added). In Salinas, the court approved a
   28   writ application describing the property sought to be attached in general, comprehensive

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    1   categories. Salinas’ holding has been repeatedly upheld in this jurisdiction. (See, e.g.,
    2   Maaco Franchising, LLC v. 5296, LLC, No. EDCV162218GWSPX, 2017 WL 10543655,
    3   at *10 (C.D. Cal. Apr. 24, 2017) (applying California attachment law); Douglas v. Smith,
    4   No. SACV 09-1365-DOCMLGX, 2010 WL 1734903, at *5 (C.D. Cal. Apr. 28, 2010)
    5   (same).) In addition, as is explained in greater detail below, Plaintiffs’ request for
    6   expedited discovery is intended to aid Plaintiffs’ in their efforts to identify and locate all
    7   attachable property belonging to Urban Commons, UC Seattle, UC Battery Park, Woods,
    8   and Wu.
    9          F. Plaintiffs’ Request For Expedited Discovery Is Necessary To Determine
   10             The Disposition And Location Of Defendants’ Assets And To Trace
   11             Defendants’ Ill-Gotten Gains
   12          California law expressly authorizes the use of discovery in aid of attachment.
   13   Where a right to attach order has been issued by the court, a plaintiff may discover,
   14   through any mean provided for by, and subject to the prohibitions included in, Title 4,
   15   commencing with section 2016.010 of Part 4 [governing discovery in civil actions
   16   generally], the identity and location of property in which the defendant has an interest.
   17   (Cal. Code Civ. Proc. § 485.230.) It follows that under Rule 64 of the Federal Rules of
   18   Civil Procedure, Plaintiffs may conduct discovery in aid of attachment if the Court issues
   19   the requested right to attach order. (See Rose v. Abraham, 2008 WL 3540542, *3-4 (E.D.
   20   Cal. 2008) [granting motion for expedited discovery]; see also Hyosung (Am.) Inc v.
   21   Tranax Techs. Inc, No. C 10-0793 VRW, 2010 WL 11587065, at *3 (N.D. Cal. Mar. 31,
   22   2010).)
   23          To that end, Plaintiffs seek expedited discovery to identify Defendants’ assets
   24   subject to attachment, prevent Defendants from attempting to hide and/or conceal any
   25   attachable assets, and trace any ill-gotten gains. To facilitate these efforts, Plaintiffs seek
   26   an order shortening the time Defendants have to respond to the special interrogatories
   27   attached as Exhibits V-Z to the Appendix of Exhibits. Specifically, Plaintiffs seek an
   28   order shortening Defendants’ response time from 30-days after service as allowed by

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    1   Federal Rule 33 to 7 days after the Court grants Plaintiffs’ Application. (See Fed. R. Civ.
    2   P. 33.) Plaintiffs also request an order that Defendants appear for deposition within 5
    3   days of issuance of the Court’s order, provide testimony on topics and produce documents
    4   in response to document requests narrowly tailored and pertaining to their assets as set
    5   forth in the notices of deposition attached as Exhibits Q-U to the Appendix of Exhibits.
    6    V.    CONCLUSION
    7          Based on the foregoing, and for such additional reasons as may be advanced at or
    8   prior to the hearing, Plaintiffs respectfully ask the Court to issue the right to attach order
    9   and writ of attachment. Plaintiffs also request that the Court grant Plaintiffs’ request for
   10   expedited discovery.
   11
        DATED: April 16, 2021
   12

   13                                     GARCIA RAINEY BLANK & BOWERBANK LLP
   14

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